                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
ALEKSEY RUDERMAN,
ARTURO SALDIVAR,
CHRIS POCKNELL,
                        Plaintiffs,
                                                                     CASE NO. 23cv1336
v.
KENOSHA COUNTY,
KENOSHA COUNTY SHERIFF’S DEPARTMENT,
DAVID G. BETH, ROBERT HALLISY,
LARRY APKER, MARC LEVIN,
JUSTIN MILLER, and
LT. BILL BETH,
                        Defendants.


                    AMENDED NOTICE OF SPECIAL APPEARANCE


       PLEASE TAKE NOTICE that Attorney Samantha R. Schmid appears on behalf of

Kenosha County, Kenosha County Sheriff’s Department, David G. Beth, Larry Apker, Marc

Levin, Justin Miller, and Bill Beth, and with respect to Defendant Robert Hallisy, said counsel

makes a Special Appearance because he has not been served and thereby retains all objections to

personal jurisdiction, insufficient process and insufficient service of process, and hereby requests

copies of all proceedings in this action subsequent to the Summons and Complaint to be served

upon us.

       Dated this 7th day of November, 2023.

                                              MUNICIPAL LAW & LITIGATION
                                              GROUP, S.C.
                                              Attorneys for Defendants

                                      By: /s/ Electronically signed by Samantha R. Schmid
                                             REMZY D. BITAR
                                             State Bar No: 1038340




           Case 2:23-cv-01336-BHL Filed 11/07/23 Page 1 of 2 Document 26
                                   MATTEO REGINATO
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        Case 2:23-cv-01336-BHL Filed 11/07/23 Page 2 of 2 Document 26
